 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 MIDDLE DISTRICT OF PENNSYLVANIA

 Case number (if known):       5:15-bk-05272                   Chapter you are filing under:
                                                                         Chapter 7
                                                                         Chapter 11
                                                                         Chapter 12
                                                                                                                                Check if this is an
                                                                         Chapter 13
                                                                                                                                amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                     12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                        About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                        Philip                                                 Sharon
     government-issued picture
                                        First Name                                             First Name
     identification (for example,
     your driver's license or           A.                                                     A.
     passport).                         Middle Name                                            Middle Name

                                        Goldstein                                              Goldstein
     Bring your picture                 Last Name                                              Last Name
     identification to your meeting
     with the trustee.                  Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.   All other names you                Philip                                                 Sharon
     have used in the last 8            First Name                                             First Name
     years                              Alan                                                   Ann
                                        Middle Name                                            Middle Name
     Include your married or
                                        Goldstein                                              Goldstein
     maiden names.
                                        Last Name                                              Last Name



                                        Philip                                                 Sharon
                                        First Name                                             First Name


                                        Middle Name                                            Middle Name
                                        Goldstein                                              Goldstein
                                        Last Name                                              Last Name


3.   Only the last 4 digits of
     your Social Security               xxx – xx –                   8        4       8    9   xxx – xx –                   0         2        0        9
     number or federal                  OR                                                     OR
     Individual Taxpayer
     Identification number              9xx – xx –                                             9xx – xx –
     (ITIN)




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Debtor 1     Philip              A.                          Goldstein                          Case number (if known) 5:15-bk-05272
             First Name          Middle Name                 Last Name

                                       About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                        I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in            Business name                                                Business name
     the last 8 years
                                       Business name                                                Business name
     Include trade names and
     doing business as names
                                       Business name                                                Business name

                                                    –                                                           –
                                       EIN                                                          EIN
                                                    –                                                           –
                                       EIN                                                          EIN

5.   Where you live                                                                                 If Debtor 2 lives at a different address:

                                       626 Carnation Dr.                                            626 Carnation Dr.
                                       Number       Street                                          Number      Street




                                       Clarks Summit               PA        18411                  Clarks Summit              PA        18411
                                       City                        State     ZIP Code               City                       State     ZIP Code


                                       County                                                       County

                                       If your mailing address is different from                    If Debtor 2's mailing address is different
                                       the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                       court will send any notices to you at this                   will send any notices to you at this mailing
                                       mailing address.                                             address.



                                       Number       Street                                          Number      Street


                                       P.O. Box                                                     P.O. Box


                                       City                        State     ZIP Code               City                       State     ZIP Code


6.   Why you are choosing              Check one:                                                   Check one:
     this district to file for
     bankruptcy                                Over the last 180 days before filing this                   Over the last 180 days before filing this
                                               petition, I have lived in this district longer              petition, I have lived in this district longer
                                               than in any other district.                                 than in any other district.

                                               I have another reason. Explain.                             I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the               Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you              for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                    Chapter 7

                                              Chapter 11

                                              Chapter 12

                                              Chapter 13




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             First Name         Middle Name            Last Name

8.   How you will pay the fee             I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                          court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                          pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                          behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                          I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                          Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                          I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                          By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                          than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                          fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                          Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                   No
     bankruptcy within the
     last 8 years?                        Yes.

                                     District                                               When                    Case number
                                                                                                   MM / DD / YYYY

                                     District                                               When                    Case number
                                                                                                   MM / DD / YYYY

                                     District                                               When                    Case number
                                                                                                   MM / DD / YYYY

10. Are any bankruptcy                    No
    cases pending or being
    filed by a spouse who is              Yes.
    not filing this case with
                                     Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an                District                                               When                    Case number,
    affiliate?                                                                                     MM / DD / YYYY   if known


                                     Debtor                                                             Relationship to you

                                     District                                               When                    Case number,
                                                                                                   MM / DD / YYYY   if known

11. Do you rent your                      No.    Go to line 12.
    residence?                            Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                               residence?

                                                      No. Go to line 12.
                                                      Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                      and file it with this bankruptcy petition.




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             First Name              Middle Name              Last Name


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor                  No. Go to Part 4.
    of any full- or part-time                  Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                      Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as                     Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                         City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                      Check the appropriate box to describe your business:
    to this petition.
                                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                             None of the above

13. Are you filing under                  If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                     can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and                   most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business              or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                               No.    I am not filing under Chapter 11.

                                               No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                      the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                      Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                    Bankruptcy Code.

 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                     No
    property that poses or is                  Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                           If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or                    Where is the property?
    a building that needs urgent                                                 Number   Street
    repairs?



                                                                                 City                                    State          ZIP Code




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             First Name          Middle Name            Last Name


 Part 5:      Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court            About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
    whether you have
                              You must check one:                                           You must check one:
    received briefing
    about credit                 I received a briefing from an approved credit                 I received a briefing from an approved credit
    counseling.                  counseling agency within the 180 days before                  counseling agency within the 180 days before
                                 I filed this bankruptcy petition, and I received              I filed this bankruptcy petition, and I received
    The law requires that
                                 a certificate of completion.                                  a certificate of completion.
    you receive a briefing
    about credit counseling      Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment
    before you file for          plan, if any, that you developed with the agency.             plan, if any, that you developed with the agency.
    bankruptcy. You must
                                 I received a briefing from an approved credit                 I received a briefing from an approved credit
    truthfully check one of
                                 counseling agency within the 180 days before                  counseling agency within the 180 days before
    the following choices.
                                 I filed this bankruptcy petition, but I do not                I filed this bankruptcy petition, but I do not
    If you cannot do so,
                                 have a certificate of completion.                             have a certificate of completion.
    you are not eligible to
    file.                        Within 14 days after you file this bankruptcy petition,       Within 14 days after you file this bankruptcy
                                 you MUST file a copy of the certificate and payment           petition, you MUST file a copy of the certificate
    If you file anyway, the      plan, if any.                                                 and payment plan, if any.
    court can dismiss your
                                 I certify that I asked for credit counseling                  I certify that I asked for credit counseling
    case, you will lose
                                 services from an approved agency, but was                     services from an approved agency, but was
    whatever filing fee you
                                 unable to obtain those services during the 7                  unable to obtain those services during the 7
    paid, and your
                                 days after I made my request, and exigent                     days after I made my request, and exigent
    creditors can begin
                                 circumstances merit a 30-day temporary                        circumstances merit a 30-day temporary
    collection activities
                                 waiver of the requirement.                                    waiver of the requirement.
    again.
                                 To ask for a 30-day temporary waiver of the                   To ask for a 30-day temporary waiver of the
                                 requirement, attach a separate sheet explaining               requirement, attach a separate sheet explaining
                                 what efforts you made to obtain the briefing, why             what efforts you made to obtain the briefing, why
                                 you were unable to obtain it before you filed for             you were unable to obtain it before you filed for
                                 bankruptcy, and what exigent circumstances                    bankruptcy, and what exigent circumstances
                                 required you to file this case.                               required you to file this case.

                                 Your case may be dismissed if the court is                    Your case may be dismissed if the court is
                                 dissatisfied with your reasons for not receiving a            dissatisfied with your reasons for not receiving a
                                 briefing before you filed for bankruptcy.                     briefing before you filed for bankruptcy.

                                 If the court is satisfied with your reasons, you must         If the court is satisfied with your reasons, you must
                                 still receive a briefing within 30 days after you file.       still receive a briefing within 30 days after you file.
                                 You must file a certificate from the approved                 You must file a certificate from the approved
                                 agency, along with a copy of the payment plan you             agency, along with a copy of the payment plan you
                                 developed, if any. If you do not do so, your case             developed, if any. If you do not do so, your case
                                 may be dismissed.                                             may be dismissed.

                                 Any extension of the 30-day deadline is granted               Any extension of the 30-day deadline is granted
                                 only for cause and is limited to a maximum of 15              only for cause and is limited to a maximum of 15
                                 days.                                                         days.

                                 I am not required to receive a briefing about                 I am not required to receive a briefing about
                                 credit counseling because of:                                 credit counseling because of:

                                      Incapacity.   I have a mental illness or a mental            Incapacity.    I have a mental illness or a mental
                                                    deficiency that makes me                                      deficiency that makes me
                                                    incapable of realizing or making                              incapable of realizing or making
                                                    rational decisions about finances.                            rational decisions about finances.

                                      Disability.   My physical disability causes me               Disability.    My physical disability causes me
                                                    to be unable to participate in a                              to be unable to participate in a
                                                    briefing in person, by phone, or                              briefing in person, by phone, or
                                                    through the internet, even after I                            through the internet, even after I
                                                    reasonably tried to do so.                                    reasonably tried to do so.
                                      Active duty. I am currently on active military               Active duty. I am currently on active military
                                                   duty in a military combat zone.                              duty in a military combat zone.
                                 If you believe you are not required to receive a              If you believe you are not required to receive a
                                 briefing about credit counseling, you must file a             briefing about credit counseling, you must file a
                                 motion for waiver of credit counseling with the court.        motion for waiver of credit counseling with the court.


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             First Name            Middle Name              Last Name


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you           16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                       as "incurred by an individual primarily for a personal, family, or household purpose."
                                                      No. Go to line 16b.
                                                      Yes. Go to line 17.

                                        16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                     No. Go to line 16c.
                                                     Yes. Go to line 17.

                                        16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                                 No.    I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after                 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                          administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                                No
    are paid that funds will be
                                                           Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                      1-49                              1,000-5,000                          25,001-50,000
    you estimate that you                      50-99                             5,001-10,000                         50,001-100,000
    owe?                                       100-199                           10,001-25,000                        More than 100,000
                                               200-999

19. How much do you                            $0-$50,000                        $1,000,001-$10 million               $500,000,001-$1 billion
    estimate your assets to                    $50,001-$100,000                  $10,000,001-$50 million              $1,000,000,001-$10 billion
    be worth?                                  $100,001-$500,000                 $50,000,001-$100 million             $10,000,000,001-$50 billion
                                               $500,001-$1 million               $100,000,001-$500 million            More than $50 billion

20. How much do you                            $0-$50,000                        $1,000,001-$10 million               $500,000,001-$1 billion
    estimate your liabilities to               $50,001-$100,000                  $10,000,001-$50 million              $1,000,000,001-$10 billion
    be?                                        $100,001-$500,000                 $50,000,001-$100 million             $10,000,000,001-$50 billion
                                               $500,001-$1 million               $100,000,001-$500 million            More than $50 billion

 Part 7:      Sign Below
For you                                 I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                        and correct.

                                        If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                        or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                        proceed under Chapter 7.

                                        If no attorney represents me and I did not pay or agree to pay someone who is an attorney to help me fill
                                        out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                        I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                        I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                        connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                        or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                        X /s/ Philip A. Goldstein                                   X /s/ Sharon A. Goldstein
                                           Signature of Debtor 1                                        Signature of Debtor 2

                                           Executed on 12/14/2015                                       Executed on 12/14/2015
                                                       MM / DD / YYYY                                               MM / DD / YYYY




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             First Name         Middle Name             Last Name

For your attorney, if you are        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                   eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                     relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by        the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need         certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                   is incorrect.



                                     X /s/ Tullio DeLuca                                                   Date 12/14/2015
                                        Signature of Attorney for Debtor                                        MM / DD / YYYY


                                        Tullio DeLuca
                                        Printed name
                                        Law offices of Tullio DeLuca
                                        Firm Name
                                        381 N. 9th Avenue
                                        Number          Street




                                        Scranton                                                   PA              18504
                                        City                                                       State           ZIP Code


                                        Contact phone (570) 347-7764                     Email address Tullio.DeLuca@verizon.net


                                        59887                                                      PA
                                        Bar number                                                 State




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